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SEALED

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA ) CRIMINAL NO.
)
v. ) VIOLATIONS:
) 18 U.S.C. §§ 2, 201(b)(1)(A) & (C)
) (Bribery)
) 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
FRANK RAFARACTI, ) 2461(c) (Forfeiture)
)
Defendant. )
)
INDICTMENT
The Grand Jury charges that:
Background

At all times material to this Indictment:
Relevant Individuals and Entities

1. From in or around October 2006 until in or around December 2017, Public Official
1 was a Marine Liaison Officer for the U.S. Navy’s Fifth Fleet in Manama, Bahrain. From in or
around December 2017 until in or around July 2020, Public Official 1 was a civilian Transportation
Specialist for the U.S. Army. In or around July 2020, Public Official 1 returned to his position
with the U.S. Navy in Bahrain as a Marine Liaison Officer.

2. Public Official 1 was at all times a civilian employee of the U.S. military, and was
a “public official” within the definition of Title 18, United States Code, Section 201(a)(1). During
his employment with the U.S. Navy, port visits and the supervision of ship husbanding services in
Bahrain were matters within Public Official 1’s official duties.

3. Defendant FRANK RAFARACT was a United States citizen. RAFARACI was

the Chief Executive Officer of Company 1, a multi-national corporation with headquarters in
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Malta. As of March 2021, Company | had operating locations in various countries, including the
United Kingdom, United Arab Emirates, Singapore, and the United States.

4. Company 1’s primary business was “ship husbanding,” which is the coordination,
scheduling, and direct and indirect procurement of items and services required by ships when they
arrived into port. Company | provided ship husbanding services to the U.S. Navy, as well as
various countries around the world.

COUNT ONE
Bribery of a Public Official
(18 U.S.C. § 201(b)(1)(A) & (b)(1)(C) and 2)

5. The introductory allegations in paragraphs 1 through 4 are re-alleged and
incorporated by reference as though fully set forth herein.

6. From in or around 2013 through in or around 2021, out of the jurisdiction of any
particular State or district, defendant FRANK RAFARACTL corruptly did give, offer, and promise
anything of value to Public Official 1, with intent to influence an official act and to induce the
commission and omission of any act in violation of the lawful duty of such official; that is,
RAFARACTI gave, offered, and promised money to Public Official 1 in exchange for Public
Official 1 using his official position to take actions benefitting Company | as opportunities arose,
and aided and abetted the same; to wit, RAFARACI gave Public Official 1 cash in order to
influence Public Official 1’s actions as a U.S. Navy official in Bahrain.

All in violation of Title 18, United States Code, Sections 201(b)(1)(A), 201(b)(1)(C)and 2.

FORFEITURE ALLEGATION
7. Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), upon conviction of

an offense against the United States, that is, bribery, in violation of 18 U.S.C. § 201(b)(1)(A) and

(C), as alleged in this Indictment, the defendant shall forfeit to the United States of America all
 

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property, real and personal, which constitutes and is derived from proceeds traceable to the
conspiracy. The property to be forfeited includes, but is not limited to, a money judgment in the
amount of the total loss caused by the defendant’s criminal conduct, as determined by the Court at
sentencing.
8. If any of the property described above, as a result of any act or omission of the

defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value;

e. or has been commingled with other property which cannot be divided without

difficulty;

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title
21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section
2461(c).

THIS IS A TRUE BILL.

 

FOREPERSON

CHANNING)D./PHILLIPS / ]
ACTING UNTPED STATES ATTORNEY,
IN AND FOR THE DISTRICT OF COL IA

JOSEPH S. BEEMSTERBOER
Acting Chief, Fraud Section
Criminal Division

United States Department of Justice
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By:

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Justin D. Weitz, Principal Assistant Chief
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Dated: September 30, 2021

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